              Case 2:15-cr-00255-PA LIST
                                    Document  155 Filed
                                         OF EXHIBITS    04/06/16
                                                      AND        Page 1 of 30 Page ID #:1274
                                                           WITNESSES
Case Number            CR15-255 PA                              Title        United States of America v. Paul Tanaka                    FILED
                                                                                                                                                  XJUIiT
    Judge              PERCY ANDERSON, U.S. DISTRICT COURT JUDGE

Dates of Trial
                       3/23/20 16;
                                                                                                                                 APR 6 2016
  or Hearing                                                                                                                                            -




Court Reporters                                                                                                         CENTRAftjJJF CANIA
                                                                                                                                       Ep
                       Shayna Montgomery                                                                                                               PUTY
 or Tape No.
Deputy Clerks          Stephen Montes Kerr

                 Attorney(s) for Plaintiff(s) / Petitioner(s)                                      Attorney(s) for Defendant(s) / Respondent(s)
Brandon Fox, AUSA                                                                     Harry Dean Steward, Rtnd.

Lizabeth A. Rhodes, AUSA                                                              Jerome J. Haig, Rtnd.

Eddie A. Jauregui, AUSA




    Plaintiff(s) or Petitioner(s)                Defendant(s) or
                                                 Respondent(s)
                                                                                             EXHIBIT DESCRIPTION / WITNESS                        Called By
Ex. No.          Id.         Ev.       Ex. No.         Id.              Ev

                                                                                        MF2B) G-ctU24-Lf 3-2r-/                                    ir
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                                                                                 v/It 6i-r 4&4-WWtII
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                                                                                                                                                       of
        Case 2:15-cr-00255-PAUNITED STATES
                              Document        DISTRICT
                                       155 Filed 04/06/16 COURT
                                                           Page 2 of 30 Page ID #:1275
                                CENTRAL DISTRICT OF CALIFORNIA
                                LIST OF EXHIBITS AND WITNESS - CONTINUED

Case No.        C111 5-255 PA                           Title:   USA v. Paul Tanaka
            rmrp
MM= mm
                                                                    Exhibit DescriptionTAWitness



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                                                          FiJtiWf



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G-65A (03/07)                       LIST OF EXHIBITS AND WITNESSES - CONTINUED                     Page 2 of
Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 3 of 30 Page ID #:1276



                              Government’s Witnesses List

       1.     Robert Olmsted
       2.     John Clark
       3.    Al Gonzales
       4.    Dennis Conte
       5.    Peter Eliasberg
       6.    Pat Maxwell
       7.    Steve Roller
      8.     Steve Martinez
      9.     Robert Bayes
       10.   Mickey Manzo
       11.   Connie Cervantes
      12.    David Dahle
      13.    Bobby Lyons
      14.    Judy Gerhardt
      15.    Linda Farrar
      16.    Michelle Miller
      17.    Gus Academia
      18.    Tara Adams
      19.    Kathy Voyer
      20.    Ralph Ornelas
      21.    Michael Bornman
      22.    Gilbert Michel
      23.    William David Courson
      24.    John Powell
      25.    David Betkey
      26.    William "Tom" Carey
Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 4 of 30 Page ID #:1277




        27.     John Torribio
        28.     Leah Tanner
        29.     Ruben Martinez. 1




1 The government also needs to identify an agent or an Assistant United States Attorney who would
read the sworn testimony of the defendant to the jury.




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Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 5 of 30 Page ID #:1278



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                     Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 6 of 30 Page ID #:1279
                                                          United States v. Tanaka
                                                                Exhibit List

New
      Description                               Bates Nos.          Witnesses   Identified.   Admitted   NOTES
No.



      Clark 2006 Memo                           A04947


2     Sheriffs Headquarters Bureau diagram
                                                                                      /’
                                                A136847


3     MCJ Captain’s Office diagram              A136846


4     Roller 2007 Memo

5     Johnson 2010 Memo                         A05027-A05032


6     McCorkle 2010 Memo                        A132200-A132233                     c1’
        kM - frk -Ft- u, I MOtt)
7          VC’t          o1&re
8
      Email dated 515111 from James Lopez to
      Paul Tanaka and others re: Sheriffs
9     Briefing                                  LASD 347698
      Email dated 5/29/11 from Sheriff’s

10
      Headquarters Bureau Info to SHB
      Executive Notifications                   LASD 347704
                                                                                ’bfrlII)(v
      Email chain ending 08/15/11 at 11:01:01
      AM from Judy Gerhardt to Stephen          LASD 329154 to
11    Leavins re: FW: Discovery Xerox           LASD_329 164
                    Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 7 of 30 Page ID #:1280

New
      Description                                 Bates Nos.       Witnesses   Identified   Admitted       NOTES

      Email dated 08/18/11 at 10:12 AM, from
      Gregory Thompson to Chris Reddington,
      Roberto Bayes, Gerard Smith, Jason          LASD 080359.09
12    Colon re: Briefing on Brown case            6

      Email dated 08/18/11 at 1:31 PM from
13    Gregory Thompson to Roberto Bayes           A18376
      Email dated 08/18/11 at 5:06 PM from
      Steven Martinez to Leroy D. Baca, re:
14    Please call                                 LASD 230199
      Email dated 8/18/11 at 8:02 PM from

15
      Christopher Nee to William T. Carey, Liam
      Gallagher, Gregory Thompson re: Meeting     LAS D_260848
                                                                                 12q(110    ’
                                                                                                j (I t
      Email dated 8/18/llat8:59PMfrom
      Christopher Nee to Julie Montgomery re:
16    Sheriff’s Meeting                           LASD 260849
      Email dated 8/18/I1 at 10:31 PM from

17
      Gregory Thompson to Christopher Nee re:
      Meeting                                     LASD257093-94
                                                                                11 ii           (i,qfi

18
      Email dated 8/19/11 at 10:50 AM from
      Gregory Thompson to Christopher Nee
                                                                               Jq flip          ]2qJifr
                                                  LASD 257088


19
      Email chain ending at 08/19/11 12:05 PM
      from Gerard R. Smith to Mickey S. Manzo     LASD_104557
                                                                               gIzI             Jiq J!(o
      Email dated 8/19/I1 at 4:00 PM from
      Christopher Nee to Stephen Leavins re:
20    Please give me a call ...                   LASD_260863                      I

      Email chain ending 8/20/11 at 9:00 PM
      from Gregory Thompson to Crystal            Not bates
21    Miranda re: Fw: Timing                      numbered
      Email chain ending 8/23/11 12:19 pm from
      Crystal Miranda to Gregory Thompson         Not bates
22    FW: New Policy                              numbered
                     Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 8 of 30 Page ID #:1281

New
      Description                                   Bates Nos           Witnesses       Identified   Admitted          NOTES
No

      Email chain ending 8/23/113:58 pm from

23
      Daniel Fedele to Gregory Thompson re:
      YOUR 1750 QUESTION
                                                    Not bates
                                                    numbered
                                                                                    *11 0              f
                                                                                                       I       1


24
      Email chain ending 8/24/119:11 AM from
      William Gilbert to Gregory Thompson
                                                    Not bates
                                                    numbered                        ’    J 1i        ’-
                                                                                                       i7i/i
      Email chain ending at 08/24/11 9:30 AM        LASD_238298.0 153
      from Cecil Rhambo to Gregory Thompson,        to
25    Re: OSJ WEEKLY INTEL                          LASD238298.015i

      Email dated 08/24/11 at 9:47 AM from                                          43[qf(I,,
26    Mickey Manzo to Gregory Thompson
                                                    Not bates
                                                    numbered                                         ’JjO(fI4,
      Email chain ending 08/24/11 at 10:06 AM                                                              I       I
27
      from Steven Spackman to William Carey,
      Re: Re                                        LASD 335816
                                                                                    ’3jzqf
      Email chain ending 8/24/11 at 11:56 AM
      from Gregory Thompson to Mickey Manzo         LASD_080359.03
28    and Stephen Leavins                           5
      Email dated 08/24/11 at 9:31 PM from
      Mickey Manzo to Stephen Leavins, Scott
      Craig, Maricela Long; Gerard Smith; and
29    Gregory Thompson, re: ITMS Info               LASD_245415
      Email chain ending 08/24/11 at 9:39 PM

30
      from Gregory Thompson to Christopher
      Nee
                                                    LAS D_257 119 to
                                                    LASD 257120                     ’)fr7fJ(e          (i.q /i(o
      Email dated 08/24/11 at 11:17 PM from
      Gerard Smith to Carlos Castillo; Noah
      Kirk; Sterling Haley; Joseph Eiiand; Calvin
      Lane Jr.; Justin Crumlish; Jason Colon;
      Matthew Thompson; James Sexton;                                                        f
      Michael Rathbun; John Bonner; Robert          LASD 080359.00
      Staggs, CC: to Mickey Manzo; Gregory          7 to
      Thompson; David Gutierrez, re:                LASD 080359.00
31    Confidential                                  8    -
                      Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 9 of 30 Page ID #:1282

New
       Description                                 Bates Nos.        Witnesses    Identified   Admitted       NOTES
No.
       Email chain ending 08/25/11 at 9:37 AM
       from Noah Kirk to Gerard Smith; Sterling
       Haley; Justin Crumlish; Calvin Lane;
       Joseph Eiland; Carlos Castillo; Matthew
       Thompson; Ryan Ortiz; Jason Pearson;
       James Sexton; Michael Rathbun; Robert
       Stagg: John Bonner, CC to Mickey            LAD0g05.0
32      Manzo, re: RE: schedule                    4
        Email chain ending 8/25/11 at 11:15 AM
        from Kevin Goran on behalf of Leroy Baca
33      to Christopher Nee                         LASD_257131
        Email dated 08/25/11 at 12:45 PM from
        Gregory Thompson to Custody Captains;
        Custody Ops Lts, CC: to Custody
        Commander, MCJ Jail Liason re: Inmate                                      /2)I4       ’!Zq /f’
34    1 Interviews                                 LASD_257 127
        Email chain ending 08/26/11 at 9:39 AM
        from Stephen Leavins to Gregory
                                                                                     A I
        Thompson re: Documents for Grand Jury                                    1JJL4(J(.        l’1   lip
35      Subpoena                                   LASD 348887
       Email chain ending 08/26/11 at 10:47:41

36
       AM from Gregory Thompson to William
       Carey                                       LASD 327645
                                                                                 ’Jo/ILe ’I3o//p
       Email chain ending 08/26/11 at 10:50 AM
37
       from Gregory Thompson to Ralph Omelas
       and William Carey
                                                   LASD_ 258054 to
                                                   LASD_258055
                                                                                 ?) J2J)/flo   ’I9Q II(p
       Email chain ending 08/26/11 at 10:56 AM
       from Gregory Thompson to William Carey,
                                                                                                 (




38
       re: FW: Court Order presented by Federal
       Officers                                    LASD 258057
                                                                                 ’D1104        ’tj 301 lb
       Email chain ending 8/26/11 at 7:48 PM
       from Gregory Thompson to John Bonner        Not bates
39     re: john rodrigez                           numbered
       Email dated 8/26/11 at 9:02 pm from
       Gregory Thompson to Jason Pearson Re:       Not bates                     1)[    [j      (ig(/2
40     Jacket                                      numbered
                    Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 10 of 30 Page ID #:1283

New
      Description                                 Bates Nos         Witnesses    Identified   Admitted          NOTES

      Email dated 8/27/11 at 2:49 pm from
      Guard Smith to Curios Castillo and others                                 It1   I         I   I
      with CC to Mickey Manzo and Gregory         Not bates                       2( ((p
41    Thompson                                    numbered

      Email dated 8/30/11 at 5:17 am from         Not bates
42    Gregory Thompson to Stephen Leavins         numbered
      Email dated 08/30/11 at 5:15 PM from
                                                                                                (




43
      Judy Gerhardt to Christopher Nee re: FW:
      FBI Subpoenas
                                                  LASD_257 190 to
                                                                                 Iig((lp       3j2/fi       ’

                                                  LASD_257214

      Email chain ending at 08/30/I1 at 5:16 PM
44    from Christopher Nee to Judy Gerhardt       LASD_260878

      Email dated 8/30/I1 at 6:02 pm from Paul
45    Tanaka to Gregory Thompson                  LASD 238312

      Email dated 08/30/11 at 8:07 PM from
46    Christopher Nee to Gregory Thompson         LASD 260880


47
      Email chain ending 9/2/11 at 9:28 AM
      from Gregory Thompson to Gerard Smith
                                                                                *q4             lv/*
48
      Email dated 09/02/11 at 10:45 AM from
      Christopher Nee to Stephen Leavins
                                                  LASD 260886
                                                  LASD 260888
                                                                -

                                                                                  Jyo fo ’Jo/i(o
      Email dated 9/3/11 at 11:03 PM from
      Gerard Smith to Noah Kirk and others with
                                                                                                f q1/1(o
      CC to Gregory Thompson, Mickey Manzo        Not bates                     ’1(jqf/j
49    and David Gutierrez                         numbered
      Email dated 9/7/11 at 1:31 PM from Gerard
      Smith to Carlos Castillo and others with
      CC to Gregory Thompson, David               Not bates
                                                                                               f /
50    Gutierrez, and Mickey Manzo                 numbered
      Email chain ending 9/7/11 at 3:45 pm from
      Gregory Thompson to . William Carey re:     Not bates
                                                                                                        I
51    FW: need document                           numbered                            I
                       Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 11 of 30 Page ID #:1284

New     Description
                                                                                                              ..      :.



No                                                      Bates Nos             Witnesses   Identified   Admitted            NOTES


        Email chain ending 09/07/11 at 5:30 PM
52      from Christopher Nee to Stephen Leavins         LASD_260893
                                                        (Redacted)
        Email chain ending 9/8/11 at 11:40 AM
                                                                                                          f       ,
                                                        LASD_CR-13-819                    ’/O/)49
53      from Stephen Leavins to John Powell             -PA _001810-12
        Email dated 9/8/11 at 2:33 PM from
        William Cassidy to Stephen Leavins re:          LASD_CR-13-819
54      sup rpt dep caruso
                -                                       -PA - 00 1 118-1125
        Email dated 09/08/11 at 3:03 PM from
        Gregory Thompson to Custody Captains,
        Custody Commander. CC: to Cecil
        Rhambo, Dennis Burns, Alexander Yim,
        and Richard Barrantes, Subject: FBI
55      requests for inmate interviews                  LASD_258068
        Email dated 9/9/11 at 7:22 am from Patricia
        Sotelo to Stephen Leavins, John Powell,
56      and Brian Deruyter

        Email dated 09/09/11 at 4:41 PM from
57      William T. Carey to Stephen Leavins             LASD 332875                       sJi/i
        Email dated 9/9/11 at 7:20 pm from John         (Redacted)
        Powell to Stephen Leavins re: Vehicle           LASD_CR-13-819
58      check                                           -PA 001105
        Email chain ending 09/12/11 at 9:43 AM,         LASDCR-13-819
        with email from William T. Carey to Scott       -PA 002030 to

59
        Craig, Maricela Long, CC: to Stephen
      1 Leavins, re: FW: Retaliation allegations list
                                                        LASD CR- 13-819                   3)?i/J2      3 Ji I /
                                                        -PA 002039
        Email chain ending 9/12/11 at 11:20 AM
        from James Sexton to Sean Geske, CC:
60      Gregory Thompson, Gerard Smith                  LASD 350487
                                                                                           /    I
        Email chain ending 09/12/11 at 12:55 PM         A51690.0000621
        from Eliel Teixeira to James Sexton,            to
61      Subject: RE: Operation Pandora’s Box            A51690.0000622
                    Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 12 of 30 Page ID #:1285

      Description                                   Bates Nos.       Witnesses   Identified   Admitted     NOTES

                                                    (Redacted)                     ,’   ’
      Email dated 09/12/11 at 3:42 PM, from         LASDCR-13-819                2J/II,/,
62    Gerald Cooper to Stephen Leavins              -PAOO 1076
      Email chain ending 09/12/11 at 6:28 PM,
      from James Sexton to Raymond Cardenas,
      CC: Gregory Thompson, David Gutierrez,
      William Gilbert, Eliel Teixeria, Giovanni
      Patemo, Jason Pearson, Mickey Manzo,
      Gerard Smith, re: Brown, Anthony              LASD 080359.00
63    #2874104                                      1
      Email dated 09/13/11 at 12:43 PM from
      Gerard Smith to Carlos Castillo, Jason
      Colon, Justin Crumlish, Joseph Eiland,
      Sterling Haley, Noah Kirk, Calvin Lane Jr.,
      Ryan Ortiz, Jason Pearson, Michael
      Rathbun, James Sexton, Matthew
      Thompson; CC: to Mickey Manzo; re:            LASD_080359.03
64    SECURITY DETAIL                               6

      Email dated 09/13/11 at 3:48 PM from
65    Stephen Leavins to William T. Carey           LADS 258069

      Email dated 9/13/11 at 4:25 PM from
66    William T. Carey to Christopher Nee           LASD_257254                   [iIffr           I /ll

67
      Email dated 9/13/11 at 4:34 PM from
      William T. Carey to Christopher Nee           LASD_25 7255
                                                                                               :3 /’/lip
       Email dated 9/14/11 at 11:48 AM from
68     William T. Carey to Christopher Nee          LASD 257259
       Email dated 09/24/11 at 10:33 PM, from
       Mickey Manzo to Scott Craig, Maricela
       Long, CC: to Stephen Leavins, Gerard         (Redacted)
       Smith, re: FW: FBI probing reports of        LASDCR-i3-819
69   1 beatings in L.A. County jails                -PA 00 1996
                    Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 13 of 30 Page ID #:1286

New
      Description                                 Bates Nos.        Witnesses   Identified   Admitted   NOTES

      Email dated 9/25/I1 at 9:20 am from Paul
      Tanaka to Stephen Leavins and William T.
      Carey re: FBI investigating reports of
      beatings in Los Angeles County jails-


70    Iatimes.com                                 LASD_327477
      Email chain ending 09/25/11 at 10:33 AM,
      with email from Paul Tanaka, to Stephen
      Leavins, Subject: RE: Justice Department    LASD 329089 to                ?)? I   1          1
71    boosts activity to police the police        LASD 329091
      Email dated 09/26/I1 at 6:39 PM, from
      Scott Craig to Stephen Leavins, Fe:         LASD_CR- 13-819
72    Emailing: Marx 09-26-I1                     -PA 000812
      Email dated 09/27/I1 at 9:41 AM from
      Christopher Nee to Ralph Ornelas to
73    Christopher Nee. Subject: RE: FBI Agents    LASD_257330
                                                                                ’Jo hip        JO/Up

74    McCorkle 9/1 /11 email                      G07916


75    Ornelas 8/30/I1 email to Adams re U Okay    LASD 360551


76    Tanaka-Leavins Email 9/7/I1                 LASD 376478


77    Tanaka-Leavins Email 9/8/I1                 LASD 376479


78
      Tanaka-Leavins Email 08/29/I1 re: Gilbert
      Michel’s schedule                           LASD_376586
                                                                                4j4111
      Rhambo Email
79    11/09/2011

      Recording of Anthony Brown Interview
80    08/19/11
                        Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 14 of 30 Page ID #:1287

New                                                           Witnesses   Identified   Admitted     NOTES
          Description                             Bates Nos



81
          Recording of Anthony Brown Interview
          08/19/11 Excerpts
                                                                           fr/io        i (iq (Ho

          Transcript of Anthony Brown Interview
82        08/19/11 Excerpts

          Recording of Anthony Brown Interview
83        08/21/11 a.m.

          Recording of Anthony Brown Interview
84        08/21/11 a.m. Excerpts

          Transcript of Anthony Brown Interview
85        08/21/11 a.m. Excerpts

          Recording of Anthony Brown Interview
86        08/23/11

          Recording of Anthony Brown Interview                            ’fzi Ii i      i(zq (i@
87    -   08/23/11 Excerpts

          Transcript of Anthony Brown Interview
88        08/23/11 Excerpts

          Recording of Anthony Brown Interview
89        08/24/11, Part

          Recording of Anthony Brown Interview
90        08/24/11, Part 2


91
          Recording of Anthony Brown Interview
          08/24/11 Excerpts
                                                                          ’(21 (I
                    Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 15 of 30 Page ID #:1288

New                                             Bates Nos          Witnesse   Identified   Admitted   NOTES
      Description


      Transcript of Anthony Brown Interview
92    08/24/11 Excerpts

      Recording of Anthony Brown Interview
93    08/26/11

      Recording of Anthony Brown Interview                                                   (j   (
94    08/26/11 Excerpts

      Transcript of Anthony Brown Interview
95    08/26/11 Excerpts

      Recording of Anthony Brown Interview
96

      Transcript of Anthony Brown Interview
97    09/2/ 1 1

      Recording of William Courson Interview
98    08/30/11                                  LASD 105344

      Transcript of William Courson Interview
99    08/30/11

      Recording of Gilbert Michel Interview
100   08/30/11, part I                          LASD 105344

      Recording of Gilbert Michel Interview
101   O8/3OIll, part 2

      Recording of Gilbert Michel Interview
102   08/30/11 Excerpts




                                                              10
                    Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 16 of 30 Page ID #:1289

New
      Description                                  Bates Nos.              Witnesses   Identified   Admitted   NOTES
No


      Transcript of Gilbert Michel Interview
103   8/30/11 Excerpts

      Recording of Phone Message from Scott
104   Craig to Leah Marx, 09/09/11                 LASD_105346

      Transcript of Phone Message from Scott
105   Craig to Leah Marx, 09/09/11

      Video Recording of Approach of Leah
106   Marx, 09/26/11                               LASD 298475

      Audio Recording of Approach of Leah
107   Marx, 09/26/I1

      Transcript of Recording of Approach of       A 112782 to
108   Leah Marx, 09/26/11                          Al 12783            -



      Synched audio, video and transcript of
      Approach of Leah Marx, 09/26/I1
109

      Recording of Phone Call from Carlos
110   Narro to Maricela Long, 09/26/11

      Transcript of Phone Call from Carlos Narro
111   to Maricela Long, 09/26/I1                   Al 12784-85


112   ACLU Letter to Baca October 28, 2009         A135273-75


113   ACLU Annual Report May 5,20l0                A134761-5104
                                                                                        I ZS-11Jzr)i


                                                                  11
                      Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 17 of 30 Page ID #:1290

New
       Description                                Bates Nos          Witnesses    Identified     Admitted        NOTES


        Rutherford v. Baca, Notice of Filing of                                  ’(2rj!(,         [Irb(P
114   1 Report, September 9, 2010

       Rutherford v Baca, Plaintiffs’
115    Supplemental Filing, February 7, 2011


116    ACLU Letter to Baca, July 2O,2011          A135338-39


117


118

       Los Angeles County Sheriff’s Department
119    Technical Operations Documents             LASD 360660


120
       Grand jury subpoenas LASD received from
       June to October 2011
                                                                                         /14     ’3/so
       Inmate Release Processing Record for

121
       Inmate Anthony Brown, Booking Number
       2009547                                    LASD 080458
                                                                                 ’?j   Jofi ip   ’jf3O
       Copy of Records Jacket for Inmate
       Anthony Brown, Booking Number              LASD 080362 to
122    2009547                                    LASD 080465
       Copy of Records Jacket for Inmate
       Anthony Brown, Booking Number
123    2874104                                    A080459-A080494
                                                                                   (OI             I’    /
       Inmate Total Movement History Record
       for Inmate Anthony Brown, Booking
                                                                                            f       (        f
124    Number 2009547, printed onol/19/12
                                                                                 ’3/ O1I
                                                  LASD 080516




                                                                12
                     Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 18 of 30 Page ID #:1291

New
      Description                                Bates Nos.             Witnesses   Identified   Admitted   NOTES
No.                          .




                                                 A45203 to A45216
                                                 (produced by LASD at
      Booking record for "John Rodriguez,"       LASD 208271
125   Booking Number 2855633                     -208284)
      Inmate Information Center Record, for
      "John Rodriguez," Booking Number           LASD_080602 to
126   2855633                                    LASD 080603


127
      Inmate Total Movement for "John
      Rodriguez," Booking Number 2855633         LASD_0805 14
                                                                                        o/i,     W 3 04
      Booking record for "Kevin King," Booking   LASD 192751 to
128   Number 2856795                             192770
      Inmate information Center Records for
      "Chris Johnson," Booking                   LASD_080604 to
129   Number 2863148                             LASD 080605
      Inmate Total Movement History Record
      for "Chris Johnson," Booking               LASD_080511to
130   Number 2863 148                            LASD 080513
      Inmate information Center Record for
      Inmate Anthony Brown, Booking Number       LASD_080600 to
131   2874104, printed on 1/24/12                LASD 080601
      Inmate information Center Record for
      Inmate Anthony Brown, Booking Number
132   2009547, printed 08/26/11                  A112243
                                                 LASD_324 108-109
                                                 LASD_324 180-182
      Calendar Book for 2011, including for
                                                 LASD 324233                        Jjqfj?
                                                 (Not LASD 245353 to
133   08/22/11 to 08/31/11                       LASD_245357)


134   "Daily Activities" Notebook


135   "G" Notebook



                                                                 13
                         Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 19 of 30 Page ID #:1292

New   ,
           Description                                     Bates Nos          Witnesses   Identified   Admitted   NOTES



136       1 "DONE 11-1-1 1" Notebook

           Manzo email re Cell Phone INV Timeline      -   LASD
137        8/19/11                                         080359.126-.128


138


139


140
            Statement of Probable Cause of Affiant
            Sergeant Scott A. Craig
                                                           LASD234 185 to
                                                           LASD_ 234 188
                                                                                          3 1~111 to
           Proposed Order for Investigative Records,
           dated 09/07/11, denied "Court has no
           jurisdiction over any federal agency,"          LASD_234 183 to
                                                                                           (             I
141        09/08/11                                        LASD2,4184


142
           Special Operations Group Surveillance
           Log ofTarget Leah Marx, 09/13/11
                                                           LASD_ 105345.00
                                                           01
                                                                                          441
           Special Operations Group Surveillance           LASD_105345.00
143        Log of Target Leah Marx, 09/14/11               12

           Special Operations Group Surveillance           LASD_105345.00
144        Log of Target Leah Marx, 09/26/11               23

           Special Operations Group Surveillance           LASD_105345.00
145        Log of Target Leah Marx, 09/28/11               34

146        S.O.G. Weekly Report 08/29/11                   LASD_298776

147        S.O.G. Weekly Report 09/05/11                   LASD_298476


                                                                         14
                     Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 20 of 30 Page ID #:1293

New
       Description                               Bates Nos          Witnesses   Identified   Admitted      NOTES




148   1 S0.G. Weekly Report 09/12/I1             LASD_298477

                                                                                               L(1   ffp
149    S.O.G. Weekly Report 09/19/11             LASD


150    S.O.G. Weekly Report 09/25/11             LASD_298475


151
       LASD Surveillance Request by Sgt. Craig
       for Surveillance of David C. Lam
                                                 LASD_285701 to
                                                 LASD 285702
                                                                                4
       Special Operations Group Surveillance                                                    f j
       Log of Target David Lam, 09/28/11 and     LASD_28571 ito                 4(t [ho       l- I rho
152    09/29/11                                  LASD 285712
                                                 LASD 320246.02
                                                 58 to
       ICIB Task Force Weekly Report: 09/11/I1   LASD_320246.02
153    to 09/17/11                               61

                                                 LASD 104481 to
154    ICIB Report re: Gilbert Emanuel Michel    LASD 104572
       Handwritten Letter from Inmate Anthony                                                    i
       Brown to Lt. Steve & Capt. Tom, Sgt.      LASD_234 141 to
155    Long, Sgt. Grey, dated 09/03/11           LASD 234165


156                  Ptfte MM#12/c
157                  tii s&r*ic
158                   fo               401

                                                               15
                     Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 21 of 30 Page ID #:1294

 New
       Description                                Bates Nos .               Identified     Admitted   NOTES



 159


                                                             -
       Federal Court Writ for the Grand Jury
       Testimony of Anthony Brown, dated          Al 10893
 160   08/25/11                                   A110906

       Email dated 08/26/11 from Yolanda Baines
 161   to Lawrence Middleton                      A76002
                                                  A78938, A78967,

 162
       Phone records for US Marshal Service fax
       machines
                                                  A85378,
                                                  A88383-A85384
                                                                            ’?   / O/(sp    3J2)


 163
       Phone record for LASD Inmate Reception
       Center fax machine
                                                  A85349,
                                                  A85353-A85358
                                                                                  o          (o /ia

 164
       AT&T Records of 909-815-8064 (Gerard
       Smith)
                                                  A46046, A47038
                                                  A49047
                                                                        -
       AT&T Records of 323-683-7618 (Maricela     A85404,
 165   Long)                                      A85409-741

       Verizon Records of 714-803-1197 (Scott
 166   Craig)
                                                  A87010-19, 23-26,
       Verizon Records of 323-574-1782 (Scott     29-31, 39-48,
       Craig), 323-693-6570 (Greg Thompson),      5 1-63, 71-81,
-167   323-819-0185 (Maricela Long)               87-93

       Verizon Records of 323-243-4099
 168   (Stephen Leavins)

       Verizon Records of 562-318-4637 (Mickey
 169




                                                                   16
                    Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 22 of 30 Page ID #:1295

New         .   .
      Description                                  Bates Nos.          Witnesses   Identified    Admitted     NOTES
No.


      Tanaka summary Chart of Phone Records
170   8/2/11 to 9/30/11

      Tanaka - Verizon records August-Sept
                                                                                             1        /
171   2011                                         A130702-A130709
      Phone summary chart for select days:
      8/23/11, 8/25/11, 8/26/11, 8/30/11,9/8/11,
172   9/9/11, 9/26/11                                                                    /



                                                   LASD 127748-
173   Pages from MCJ Roster                        LASD 127754


174   Pages from TTCF Phone Roster
                                                   LASD 281674-                          ofin     ’[o/i
                                                   LASD_28 1675


175   Page from TTCF Roster 2011                   LASD 281679


176   Custody Ops HQ Cell Phone Roster             LASD 282077

                                                   LASD 298571-
177   Cell Phone Roster                            LASD298578


178
                                                   LASD 298582-                    ’J111hi
                                                                                         IV(I
                                                                                                  ’I/
                                                                                                  J( /V(
      Administrative Phone Roster                  LASD 298585                      ’I

179   Executives Roster
                                                   LASD298587-
                                                   LASD 298593
                                                                                   ’I2,iii,,     ’f’p
                                                                                                          4
                                                   LASD 348890-
180   LASD Landline Phone Roster                   LASD 348914




                                                                  17
                      Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 23 of 30 Page ID #:1296

New
       Description                              Bates Nos.       Witnesses   Identified   Admitted      NOTES
No


        Summary Chart with Phone Numbers
181   1 Associated with LASD


182    TanakaGJ Transcript 12/19/12             G04729-G04859
                                                                             +(i   (i      + Ii /1 LP
                                                Not Bates
183    Tanaka trial transcript   -   Sexton 1   numbered

       Trial Transcript Ruben Martinez
                        -                       Not Bates
184    (U.S. v. Thompson June 6, 2014)
                            -                   numbered


185    Michel Plea Agreement                    M00082-M00 106


186                                                                          ’/?O/’((e
                            O(OJ 1’
187
                                1fM1L(c

188


189


190    Stipulation re LASD emails


191    Stipulation re Recordings
                    Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 24 of 30 Page ID #:1297

New
      Description                                Bates Nos.        Witnesses   Identified   Admitted   NOTES
No.



192   Stipulations re Phone Records


193   Stipulation re Tanaka Previous Testimony                                     I
                                                                               4-11 1
      Stipulation re ACLU Filings and
194   Correspondence with the LASD

               ,i-K WIL’ 6i241fI9’
195   -   14    ve2ip-r

196


197



198


199

      Grand Jury Transcript   -   Robert Lyons
200   (July 31, 2013)                            G08935-G08998

      Grand Jury Transcript   -   Mickey Manzo
201   (Nov. 19, 2014)                            G12468-G12715

      Grand Jury Transcript Gasat Academia
                              -


202   (Oct. 17, 2012)                            G04056-G04284
      Trial Transcript Gus Academia
                      -


203   (U.S. v. Thompson May 30, 2014)
                          -




                                                              19
                    Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 25 of 30 Page ID #:1298

New                                                                          . Identified. Admitted       NOTES
      Description                              Bates Nos.        Witnesses                            .


      Grand Jury Transcript - Ruben Martinez
204   (Sent. 18. 2013)                         G11395-G11537


205   Tanaka trial transcript - Thompson
                                                                                 (i   fi1 q-fll

207


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209


210




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     Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 26 of 30 Page ID #:1299
                         UNITED STATES DISTRICT COURT
                                  Case # CR 15-255-PA

   ED STATES OF AMERICA

           V   .



PAUL TANAKA


    NUMBER                                      EXHIBITS/DESCRIPTION

     300           California Penal Codes

     301           Code of Ethics

     302           Core Value Statement

     303           Creed

     304           Mission Statement

     305           Business Card Back   (O(A- CO r2 vp,t))

     306           Directives 2008

     307           Directives 2009

     308           Roller Memo re 2007 Tanaka visit

     309           CCJV Report


     310           LASDORGchart                                            4(ifi
     311           2010 Maxwell POE Complaint                3 lu /- /0

     312           Paul Tanaka Email re The Grey Area
                               -




     313           Photo

     314           Photo
      Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 27 of 30 Page ID #:1300

                                UNITED STATES DISTRICT COURT
                                         Case # CR 15-255-PA

GATED STATES OF AMERICA

            V   .



PAUL TANAKA


     NUMBER                                       EXHIBITS/DESCRIPTION

      315           Photo

      316           Photo

      317           Photo

      318           Photo

      319           Photo

      320           Photo

      321           Photo

      322           Photo

      323           Photo

      324           Photo Exemplary Service Award Recients.3.8.2010
                            -




      325           Photo Gardena Councilman 4.14.002 and Lions Club Event
                            -




      326           Photo LNX STN Farewell Luncheon. 8.14.96
                            -




      327           Photo Mayor Paul K. Tanaka. 5.22.2005
                            -




      328           Photo Paul Tanaka with Cecil Rhambo
                            -




      329           Photo Special Problem Unit. 3.8.10
                            -
       Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 28 of 30 Page ID #:1301

                              UNITED STATES DISTRICT COURT
                                      Case # CR 15-255-PA

l)i’(ITED STATES OF AMERICA

             V.
PAUL TANAKA


     NUMBER                                      EXHIBITS/DESCRIPTION

       330        Photo Tanaka Sheriff(l)
                        -




       331        Photo Tanaka Sheriff.(2)
                        -




       332        Photo Tanaka Sheriff.(3)
                        -




       333        Photo Undersheriff Paul Tanaka 9.14.2011
                        -




       334        Olmstead Email re Deputy Complaint Statement

       335        Email re LASD MEETING

       336        Email from Bonner to Thompson

       337        Rhambo email and memos re Visiting Rules

       338        Thompson email re Court Order Presented By

       339        Email Re Sheriffs Deputies Assigned to FBI Task Force

       340        Email re Pandora’s Box.20CR

       341        Marx to Narro (Internal FBI Emails)

       342        Martinez e-mail Cha!

       343        Steven Martinez emails with USAO&FBI

       344        Olmstead Notes to MCJ
       Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 29 of 30 Page ID #:1302
                            UNITED STATES DISTRICT COURT
                                   Case # CR 15-255-PA

17’ )TED STATES OF AMERICA

              V   .



PAUL TANAKA


      NUMBER                                         EXBIBITSIDESCRIPTION

        345           FBI Insert re Protect CHS

        346           FBI Cell Phones as Prison Contraband
                          -                                                          *1’ ((fr
       347            Manzo J and C

       348            Release of AB Booking Package                                  [~o
       349            SMS Messages 8.5.2011

       350            Memo Booking Package Released to FBI

       351            Order Taking Away AB Privileges (ICIB       -   AB Report)     1 4
                                                                                     2q         3 [Zq11

       352            September 26, 2011 Letter Baca to Birotte       (f2EPiter6)   4(+fi (      L(


       353            Martinez 302

       354            Michel Plea Agreement

       355            Michel Plea Agreement

       356            Maxwell Supplemental Information Sheet (Pre-AB Section)

       357            Personal File Violations Gonzales (Pre-AB Section)

       358            2015 U.S.S.G. 5K1.1(1)

       359                                     OM’
       Case 2:15-cr-00255-PA Document 155 Filed 04/06/16 Page 30 of 30 Page ID #:1303

                            UNITED STATES DISTRICT COURT
                                  Case # CR 15-255-PA

Ui TED STATES OF AMERICA

             V.
PAUL TANAKA


     NUMBER                               EXHIBITS/DESCRIPTION

       360              iL-1                    /Ik          4/f/lie

       361


       362                    YN4k0 Levf                     14I (1l
       363        c-1                                         -j   (I7


       364


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